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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                           Case No. 1:20−cr−183

   v.                                         Hon. Robert J. Jonker

BARRY GORDON CROFT, JR,

         Defendant.
                                       /



                          NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

                      Arraignment
                      Detention Hearing
Type of hearing(s):   First Appearance
                      Initial Pretrial Conference
Date/Time:            January 13, 2021 04:00 PM
Magistrate Judge:     Sally J. Berens
Place/Location:       650 Federal Building, Grand Rapids, MI




                                           SALLY J. BERENS
                                           U.S. Magistrate Judge

Dated: January 12, 2021          By:        /s/ Julie Lenon
                                           Judicial Assistant
